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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CASE NO.: 1:23-MJ-00042

 

UNITED STATES OF AMERICA,
vs.
MICHAEL DANIELE,
Defendant.
/
NOTICE OF APPEARANCE

 

THE UNDERSIGNED COUNSEL hereby enters his Notice of Appearance as Counsel of

Record for the Defendant in the above-styled cause and would request the Clerk of Court to furnish

any paperwork in this case to the undersigned.

CERTIFICATE OF SERVICE
IHEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk
via the CM/ECE and an electronic notification was sent via email to Sarah C. Martin, Assistant
United States Attorney, U.S. Attorney’s Office for the District of Columbia, 601 D Street

Northwest Washington, D.C. 20001 this 8" day of March, 2023.

STUART N. KAPLAN, P.A.

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By: /s/ Staapt NW. Kaplan

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